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Sum of GL_AMOUNT
VENDOR_STATE       BOC description                       Program Description                                                                                                  Total
  AZ                GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                                                           195,563.65
  AZ                GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STAFFING FOR ADEQUATE FIRE & EMERGENCY RESPONSE (SAFER)                                                               2,053,132.49
  AZ                GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS URBAN AREA SECURITY INITIATIVE URBAN AREA SECURITY                                                                    1,290,892.36
  AZ                GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA CYBERSECURITY - GPD                                                                                                     1,060,473.69
  AZ                GRANTS SUBSIDIES AND CONTRIBUTIONS   SHSGP OPERATION STONEGARDEN                                                                                                  4,859,159.03
  AZ                GRANTS SUBSIDIES AND CONTRIBUTIONS   UASI NONPROFIT                                                                                                                 311,447.26
  AZ                Hazard Mitigation Grant              COVID-19                                                                                                                        31,401.45
  AZ                Hazard Mitigation Grant              R-9 ARIZONA 05/18/20 EAST DESERT FIRE                                                                                          192,168.86
  CA                Disaster Case Management             R9 CALIFORNIA 1/21/2024-1/23/2024 SEVERE STORM AND FLOODING                                                                    293,772.72
  CA                Disaster Case Management             R-9 CALIFORNIA, 1/14/23, SEVERE WINTER STORM,     WINDS, FLOODING, LANDSLIDES AND MUDSLIDES                                    873,469.39
  CA                Disaster Case Management             SEVERE WINTER STORMS, STRAIGHT LINE WINDS, FLOODING     LANDSLIDES, AND MUDSLIDES                                              729,323.17
  CA                GRANTS SUBSIDIES AND CONTRIBUTIONS   BRIC GRANTS NOFO 2020                                                                                                           50,550.47
  CA                GRANTS SUBSIDIES AND CONTRIBUTIONS   BRIC GRANTS NOFO 2022                                                                                                           36,549.33
  CA                GRANTS SUBSIDIES AND CONTRIBUTIONS   FMA GRANTS                                                                                                                     440,033.21
  CA                GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS BRIC NOFO 2021                                                                                                           27,398.34
  CA                GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS EMERGENCY MANAGEMENT PERFORMANCE GRANTS                                                                                 215,751.14
  CA                GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FHMRA RISK MAP REGIONAL PROGRAM MANAGEMENT                                                                                8,848.18
  CA                GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                                                         2,562,580.52
  CA                GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS PUBLIC TRANSPORTATION SECURITY ASSISTANCE       RAILROAD SECURITY ASSISTANCE PUBLIC TRANSPORTATION SECURITY             472,406.87
  CA                GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STAFFING FOR ADEQUATE FIRE & EMERGENCY RESPONSE (SAFER)                                                               5,807,612.04
  CA                GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STATE HOMELAND SECURITY GRANT PROGRAM                                                                                   312,162.00
  CA                GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS URBAN AREA SECURITY INITIATIVE URBAN AREA SECURITY                                                                    8,374,356.00
  CA                GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA BRIC GRANTS NOFO 2022                                                                                                      34,011.17
  CA                GRANTS SUBSIDIES AND CONTRIBUTIONS   NATIONAL EARTHQUAKE HAZARD REDUCTION GRANTS                                                                                    204,639.38
  CA                GRANTS SUBSIDIES AND CONTRIBUTIONS   NATIONAL PREDISASTER MITIGATION - PROGRAM                                                                                      287,513.55
  CA                GRANTS SUBSIDIES AND CONTRIBUTIONS   PRE-DISASTER MITIGATION COMMUNITY PROJECT GRANTS                                                                               157,149.80
  CA                GRANTS SUBSIDIES AND CONTRIBUTIONS   SHSGP NONPROFIT SECURITY                                                                                                         1,800.00
  CA                GRANTS SUBSIDIES AND CONTRIBUTIONS   TARGETED VIOLENCE AND TERRORISM PREVENTION - FA                                                                                    822.08
  CA                GRANTS SUBSIDIES AND CONTRIBUTIONS   UASI NONPROFIT                                                                                                                 264,289.00
  CA                GRANTS SUBSIDIES AND CONTRIBUTIONS   USAR ADMIN                                                                                                                          67.43
  CA                Hazard Mitigation Grant              COVID-19                                                                                                                     1,188,407.11
  CA                Hazard Mitigation Grant              R-09 CALIFORNIA 07/09/17 WALL FIRE                                                                                              34,830.85
  CA                Hazard Mitigation Grant              R9 - CALIFORNIA - 10/10/2017 WILDFIRES                                                                                       2,209,806.80
  CA                Hazard Mitigation Grant              R-9 CALIFORNIA 09/22/15                                                                                                        141,091.07
  CA                Hazard Mitigation Grant              R-9 CALIFORNIA 1/2/18 WILDFIRE                                                                                                 299,444.14
  CA                Hazard Mitigation Grant              R9 CALIFORNIA 1/21/2024-1/23/2024 SEVERE STORM AND FLOODING                                                                     85,722.55
  CA                Hazard Mitigation Grant              R9 CALIFORNIA 1/31/2024-2/9/2024 SEVERE STORM, FLOODING, LANDSLIDES, AND MUDSLIDES                                             221,734.52
  CA                Hazard Mitigation Grant              R-9 CALIFORNIA 10/11/19 SADDLERIDGE FIRE                                                                                        77,310.43
  CA                Hazard Mitigation Grant              R-9 CALIFORNIA 10/13/21 ALISAL FIRE                                                                                             78,835.32
  CA                Hazard Mitigation Grant              R-9 CALIFORNIA 10/16/20 WILDFIRES                                                                                              616,646.60
  CA                Hazard Mitigation Grant              R-9 CALIFORNIA 10/24/07 WILDFIRES                                                                                              455,616.50
  CA                Hazard Mitigation Grant              R-9 CALIFORNIA 11/12/18 WILDFIRE                                                                                             2,449,146.53
  CA                Hazard Mitigation Grant              R-9 CALIFORNIA 11/8/18 CAMP FIRE                                                                                                58,433.60
  CA                Hazard Mitigation Grant              R-9 CALIFORNIA 4/1/17 SEVERE WINTERNSTORMS FLOODING      MUDSLIDES                                                           3,394,639.08
  CA                Hazard Mitigation Grant              R-9 CALIFORNIA 9/12/21 CALDOR FIRE                                                                                             208,261.42
  CA                Hazard Mitigation Grant              R-9 CALIFORNIA, 1/14/23, SEVERE WINTER STORM,     WINDS, FLOODING, LANDSLIDES AND MUDSLIDES                                    702,736.07
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CA   Hazard Mitigation Grant              R9-CALIFORNIA 11/21/23 TROPICAL STORM HILARY                                                       483,208.05
CA   Hazard Mitigation Grant              SEVERE WINTER STORMS, FLOODING, LANDSLIDES, AND MUDSLIDES                                           46,018.47
CA   Hazard Mitigation Grant              SEVERE WINTER STORMS, STRAIGHT LINE WINDS, FLOODING      LANDSLIDES, AND MUDSLIDES                 583,220.83
CA   Hazard Mitigation Grant              SILVERADO FIRE                                                                                     216,043.92
CA   Hazard Mitigation Grant              WILDFIRES                                                                                        1,225,677.70
CA   Hazard Mitigation Grant              WILDFIRES AND HIGH WINDS                                                                           206,093.12
CA   Infrastructure Grant                 COVID-19                                                                                       288,580,336.12
CA   Infrastructure Grant                 R-9 CALIFORNIA 09/22/15                                                                                  2.11
CA   Infrastructure Grant                 R-9 CALIFORNIA 08/25/21 FRENCH FIRE                                                                  1,889.11
CA   Infrastructure Grant                 R-9 CALIFORNIA 09.23.2021 FAWN FIRE                                                                  1,354.52
CA   Infrastructure Grant                 R-9 CALIFORNIA 11/12/18 WILDFIRE                                                                    28,356.09
CA   Infrastructure Grant                 R-9 CALIFORNIA 12/13/13 RIM FIRE                                                                         0.01
CA   Infrastructure Grant                 R-9 CALIFORNIA 7/23/22 OAK FIRE                                                                     41,139.46
CA   Infrastructure Grant                 R-9 CALIFORNIA, 1/14/23, SEVERE WINTER STORM,      WINDS, FLOODING, LANDSLIDES AND MUDSLIDES     2,137,967.93
CA   Infrastructure Grant                 R-9 EARTHQUAKE                                                                                           0.58
CA   Infrastructure Grant                 R9-CALIFORNIA 11/21/23 TROPICAL STORM HILARY                                                       403,944.94
CA   Infrastructure Grant                 SEVERE WINTER STORMS, FLOODING AND MUDSLIDES                                                        92,169.13
CA   Infrastructure Grant                 SEVERE WINTER STORMS, STRAIGHT LINE WINDS, FLOODING      LANDSLIDES, AND MUDSLIDES               5,096,306.19
CA   Infrastructure Grant                 TROPICAL STORM HILLARY - LA JOLLA BAND OF LUISENO INDIANS                                        1,173,189.03
CA   Infrastructure Grant                 WILDFIRES                                                                                           17,205.62
CA   Public Assistance Grant              COVID-19                                                                                         5,054,639.86
CO   GRANTS SUBSIDIES AND CONTRIBUTIONS   BRIC GRANTS NOFO 2020                                                                                4,000.00
CO   GRANTS SUBSIDIES AND CONTRIBUTIONS   EMERGENCY OPERATIONS CENTER COMMUNITY PROJECT GRANTS                                                 4,333.11
CO   GRANTS SUBSIDIES AND CONTRIBUTIONS   ETE-NAT'L DOMESTIC PREPAREDNESS CONSORTIUM                                                         820,975.56
CO   GRANTS SUBSIDIES AND CONTRIBUTIONS   FMA GRANTS                                                                                              38.97
CO   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS BRIC NOFO 2021                                                                                  247.70
CO   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS EMERGENCY MANAGEMENT PERFORMANCE GRANTS                                                   1,643,608.33
CO   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                               317,883.81
CO   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS PRE-DISASTER MITIGATION                                                                      21,641.10
CO   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STATE HOMELAND SECURITY GRANT PROGRAM                                                       714,327.43
CO   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS URBAN AREA SECURITY INITIATIVE URBAN AREA SECURITY                                          319,735.77
CO   GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA BRIC GRANTS NOFO 2022                                                                             771.30
CO   GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA CYBERSECURITY - GPD                                                                         4,520,726.66
CO   GRANTS SUBSIDIES AND CONTRIBUTIONS   PRE-DISASTER MITIGATION COMMUNITY PROJECT GRANTS                                                    13,778.10
CO   GRANTS SUBSIDIES AND CONTRIBUTIONS   SHSGP NONPROFIT SECURITY                                                                           277,685.76
CO   GRANTS SUBSIDIES AND CONTRIBUTIONS   TARGETED VIOLENCE AND TERRORISM PREVENTION - FA                                                     76,125.03
CO   GRANTS SUBSIDIES AND CONTRIBUTIONS   UASI NONPROFIT                                                                                     136,989.83
CO   Hazard Mitigation Grant              COVID-19                                                                                           314,355.70
CO   Hazard Mitigation Grant              EAST TROUBLESOME FIRE                                                                              417,456.89
CO   Hazard Mitigation Grant              GRIZZLY CREEK FIRE                                                                                     198.11
CO   Hazard Mitigation Grant              R-8 COLORADO 1/15/21 WILDFIRES                                                                     135,018.10
CO   Hazard Mitigation Grant              R-8 COLORADO 12/30/21 MARSHALL FIRE                                                                  1,237.86
CO   Hazard Mitigation Grant              R-8 COLORADO 12/31/21 WILDFIRES AND STRAIGHT LINE WINDS                                             40,332.14
CO   Hazard Mitigation Grant              R8 COLORADO 6/8-6/23/2023 SEVERE STORMS, FLOODING AND TORNADOES                                      6,163.86
CO   Infrastructure Grant                 COVID-19                                                                                        36,691,347.74
CO   Infrastructure Grant                 R-8 COLORADO 1/15/21 WILDFIRES                                                                         980.19
CO   Infrastructure Grant                 R-8 COLORADO 9/14/13 COLORADO FLASH FLOODING                                                     1,978,005.93
CT   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                               956,462.04
CT   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STAFFING FOR ADEQUATE FIRE & EMERGENCY RESPONSE (SAFER)                                     143,882.06
CT   GRANTS SUBSIDIES AND CONTRIBUTIONS   MITIGATION DAM SAFETY PROGRAM GRANTS                                                                33,777.08
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CT   Infrastructure Grant                 COVID-19                                                                              2,075,207.72
DC   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS EMERGENCY MANAGEMENT PERFORMANCE GRANTS                                        1,158,639.00
DC   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS URBAN AREA SECURITY INITIATIVE URBAN AREA SECURITY                             1,375,238.23
DC   GRANTS SUBSIDIES AND CONTRIBUTIONS   PNP OFFICE OF DEPUTY ADMINISTRATOR REGIONAL & STAKEHOLDER                                27,871.00
DC   Hazard Mitigation Grant              COVID-19                                                                                 62,856.71
DE   GRANTS SUBSIDIES AND CONTRIBUTIONS   CAP-SSSE GRANTS                                                                          28,219.08
DE   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS EMERGENCY MANAGEMENT PERFORMANCE GRANTS                                           44,345.25
DE   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FHMRA RISK MAP REGIONAL PROGRAM MANAGEMENT                                        20,224.89
DE   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                    572,549.40
DE   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS PORT SECURITY GRANTS PORT SECURITY GRANTS                                         27,145.00
DE   GRANTS SUBSIDIES AND CONTRIBUTIONS   MITIGATION DAM SAFETY PROGRAM GRANTS                                                      2,317.40
DE   Hazard Mitigation Grant              COVID-19                                                                                100,684.15
DE   Hazard Mitigation Grant              R3 DELAWARE 10/24/21 REMNANTS OF HURRICANE IDA                                           61,162.75
DE   Hazard Mitigation Grant              TROPICAL STORM ISAIAS                                                                    65,816.00
DE   Infrastructure Grant                 COVID-19                                                                                 15,359.61
DE   Infrastructure Grant                 R3 DELAWARE 10/24/21 REMNANTS OF HURRICANE IDA                                          254,722.50
HI   Disaster Case Management             WILDFIRES                                                                               974,577.76
HI   GRANTS SUBSIDIES AND CONTRIBUTIONS   ETE-NAT'L DOMESTIC PREPAREDNESS CONSORTIUM                                              990,458.64
HI   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS EMERGENCY MANAGEMENT PERFORMANCE GRANTS                                          234,013.77
HI   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FHMRA RISK MAP REGIONAL PROGRAM MANAGEMENT                                        13,775.00
HI   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                     52,272.41
HI   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS PDM LEGACY                                                                       122,237.25
HI   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STATE HOMELAND SECURITY GRANT PROGRAM                                            539,275.65
HI   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS URBAN AREA SECURITY INITIATIVE URBAN AREA SECURITY                               446,935.04
HI   GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA CYBERSECURITY - GPD                                                                 95,773.88
HI   GRANTS SUBSIDIES AND CONTRIBUTIONS   REGIONAL CATASTROPHIC PREPAREDNESS- GRANT                                                 5,835.00
HI   Infrastructure Grant                 COVID-19                                                                             46,799,917.33
HI   Infrastructure Grant                 R-9 HAWAII 2/15/22 SEVERE STORMS, FLOODING AND LANDSLIDES                               186,411.17
HI   Infrastructure Grant                 R9 HAWAII 4/11/2024-4/14/2024             SEVERE STORMS, FLOODING, AND LANDSLIDES        15,268.89
HI   Infrastructure Grant                 R-9 HAWAII 5/11/18 KILAUEA VOLCANIC ERUPTION AND EARTHQUAKES                            455,414.74
HI   Infrastructure Grant                 WILDFIRES                                                                             3,408,638.01
HI   Public Assistance Grant              COVID-19                                                                             40,900,303.07
IL   Disaster Case Management             R5 ILLINOIS 8/15/2023 SEVERE STORMS AND FLOODING                                         14,200.00
IL   Disaster Case Management             R-50 ILLINOIS, 10/14/22 SEVERE STORM AND FLOODING                                       961,012.37
IL   GRANTS SUBSIDIES AND CONTRIBUTIONS   EMERGENCY OPERATIONS CENTER COMMUNITY PROJECT GRANTS                                    983,474.22
IL   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS EMERGENCY MANAGEMENT PERFORMANCE GRANTS                                          410,575.45
IL   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                  3,498,695.74
IL   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS PORT SECURITY GRANTS PORT SECURITY GRANTS                                        459,673.01
IL   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STAFFING FOR ADEQUATE FIRE & EMERGENCY RESPONSE (SAFER)                           68,206.27
IL   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STATE HOMELAND SECURITY GRANT PROGRAM                                          4,705,004.67
IL   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS URBAN AREA SECURITY INITIATIVE URBAN AREA SECURITY                            26,069,359.75
IL   GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA CYBERSECURITY - GPD                                                                  4,275.00
IL   GRANTS SUBSIDIES AND CONTRIBUTIONS   NATIONAL EARTHQUAKE HAZARD REDUCTION GRANTS                                                 941.57
IL   Hazard Mitigation Grant              COVID-19                                                                                147,412.02
IL   Hazard Mitigation Grant              R-50 ILLINOIS, 10/14/22 SEVERE STORM AND FLOODING                                        14,595.30
IL   Hazard Mitigation Grant              SEVRE STORMS AND FLOODING                                                                 1,143.84
IL   Infrastructure Grant                 COVID-19                                                                             81,227,950.48
IL   Infrastructure Grant                 R5 ILLINOIS 8/15/2023 SEVERE STORMS AND FLOODING                                            450.00
IL   Infrastructure Grant                 SEVRE STORMS AND FLOODING                                                                   369.00
IL   Public Assistance Grant              COVID-19                                                                                 22,013.49
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KY   Agreements                           GRANTS EMERGENCY MANAGEMENT PERFORMANCE GRANTS                                                                275,255.41
KY   GRANTS SUBSIDIES AND CONTRIBUTIONS   CSEPP FY23 O&M 2-YEAR FUNDING 10/1/22 TO 9/30/24                                                               11,788.18
KY   GRANTS SUBSIDIES AND CONTRIBUTIONS   CSEPP FY24 O&M 2-YEAR FUNDING 10/1/23 TO 9/30/25                                                               85,630.90
KY   GRANTS SUBSIDIES AND CONTRIBUTIONS   ETE-CONTINUING TRAINING GRANTS - COMPETITIVE PORTION                                                          126,230.15
KY   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FHMRA RISK MAP REGIONAL PROGRAM MANAGEMENT                                                             452,230.16
KY   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                                        1,215,951.99
KY   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STATE HOMELAND SECURITY GRANT PROGRAM                                                                   80,882.20
KY   GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA - SECTION 8A NDSP IIJA STATE GRANTS                                                                        5,378.10
KY   GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA CYBERSECURITY - GPD                                                                                      295,345.08
KY   GRANTS SUBSIDIES AND CONTRIBUTIONS   PNP OFFICE OF DEPUTY ADMINISTRATOR REGIONAL & STAKEHOLDER                                                      23,726.82
KY   GRANTS SUBSIDIES AND CONTRIBUTIONS   SHSGP NONPROFIT SECURITY                                                                                       92,965.39
KY   Hazard Mitigation Grant              COVID-19                                                                                                      274,730.20
KY   Hazard Mitigation Grant              R4 KENTUCKY 12/12/21 SEVERE STORM WINDS FLOOD & TORNADOS                                                        5,880.60
KY   Hazard Mitigation Grant              R-4 KENTUCKY 2/27/22 SEVERE STORM STRAIGHT-LINE WINDS, TORNADOES, FLOODING, LANDSLIDES AND MUDSLIDES            2,465.71
KY   Hazard Mitigation Grant              R-4 KENTUCKY 3/31/21 SEVERE WINTER STORMS, LANDSLIDES, MUDSLIDES                                                3,468.40
KY   Hazard Mitigation Grant              R4 KENTUCKY 4/10/2023 SEVERE STORMS, STRAIGHT-LINE WINDS, TORNADOES, FLOODING, LANDSLIDES, AND MUDSLIDES        3,407.50
KY   Hazard Mitigation Grant              R4 KENTUCKY 4/23/21 SEVERE STORMS,FLOODING,LANDSLIDES,MUDSLIDES                                                 4,999.26
KY   Hazard Mitigation Grant              R-4 KENTUCKY, 7/29/22 SEVERE STORMS, FLOODING, LANDSLIDES, AND MUDSLIDES                                      537,039.35
KY   Hazard Mitigation Grant              R-4, KENTUCKY, 5/9/23 SEVERE STORMS, STRAIGHT LINE WINDS, FLOODING, LANDSLIDES AND MUDSLIDES                   10,457.03
KY   Hazard Mitigation Grant              SEVERE STORMS, FLOODING, LANDSLIDES AND MUDSLIDES                                                              56,094.19
KY   Hazard Mitigation Grant              SEVERE STORMS, FLOODING, LANDSLIDES, AND MUDSLIDES                                                             51,680.48
KY   Hazard Mitigation Grant              SEVERE STORMS, TORNADOES FLOODING LANDSLIDES & MUDSLIDES                                                      216,293.35
KY   Hazard Mitigation Grant              SEVERE STORMS,STRAIGHT-LINE WINDS,FLOODING,LANDSLIDES,MUDSLI                                                   40,414.17
KY   Infrastructure Grant                 COVID-19                                                                                                   30,882,414.19
KY   Infrastructure Grant                 R4 KENTUCKY 12/12/21 SEVERE STORM WINDS FLOOD & TORNADOS                                                      458,223.02
KY   Infrastructure Grant                 R-4 KENTUCKY 2/27/22 SEVERE STORM STRAIGHT-LINE WINDS, TORNADOES, FLOODING, LANDSLIDES AND MUDSLIDES           43,334.93
KY   Infrastructure Grant                 R-4 KENTUCKY 3/31/21 SEVERE WINTER STORMS, LANDSLIDES, MUDSLIDES                                              210,915.78
KY   Infrastructure Grant                 R4 KENTUCKY 4/10/2023 SEVERE STORMS, STRAIGHT-LINE WINDS, TORNADOES, FLOODING, LANDSLIDES, AND MUDSLIDES        6,512.20
KY   Infrastructure Grant                 R4 KENTUCKY 4/23/21 SEVERE STORMS,FLOODING,LANDSLIDES,MUDSLIDES                                               960,376.91
KY   Infrastructure Grant                 R4 KENTUCKY 5/21/2024-5/27/2024 SEVERE STORMS, STRIGHT-LINE WINDS, TORNADOES, LANDSLIDES, AND MUDSLIDES     2,146,501.54
KY   Infrastructure Grant                 R-4 KENTUCKY, 7/29/22 SEVERE STORMS, FLOODING, LANDSLIDES, AND MUDSLIDES                                    2,062,010.05
KY   Infrastructure Grant                 R-4, KENTUCKY, 5/9/23 SEVERE STORMS, STRAIGHT LINE WINDS, FLOODING, LANDSLIDES AND MUDSLIDES                  360,258.32
KY   Infrastructure Grant                 SEVERE STORMS, FLOODING, LANDSLIDES AND MUDSLIDES                                                           1,339,075.41
KY   Infrastructure Grant                 SEVERE STORMS, FLOODING, LANDSLIDES, AND MUDSLIDES                                                             16,241.21
KY   Infrastructure Grant                 SEVERE STORMS, TORNADOES FLOODING LANDSLIDES & MUDSLIDES                                                       26,985.05
KY   Infrastructure Grant                 SEVERE STORMS,STRAIGHT-LINE WINDS,FLOODING,LANDSLIDES,MUDSLI                                                  124,554.69
KY   Public Assistance Grant              COVID-19                                                                                                      644,783.39
MA   GRANTS SUBSIDIES AND CONTRIBUTIONS   CAP-SSSE GRANTS                                                                                                31,771.21
MA   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS EMERGENCY MANAGEMENT PERFORMANCE GRANTS                                                                458,012.14
MA   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                                          485,151.64
MA   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS PORT SECURITY GRANTS PORT SECURITY GRANTS                                                              231,453.50
MA   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STAFFING FOR ADEQUATE FIRE & EMERGENCY RESPONSE (SAFER)                                              4,838,669.93
MA   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STATE HOMELAND SECURITY GRANT PROGRAM                                                                  456,525.18
MA   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS URBAN AREA SECURITY INITIATIVE URBAN AREA SECURITY                                                     803,854.20
MA   GRANTS SUBSIDIES AND CONTRIBUTIONS   HIGH HAZARD POTENTIAL DAM REHABILITATION PROGRAM GRANTS                                                         3,688.55
MA   GRANTS SUBSIDIES AND CONTRIBUTIONS   PRE-DISASTER MITIGATION COMMUNITY PROJECT GRANTS                                                               63,444.55
MA   GRANTS SUBSIDIES AND CONTRIBUTIONS   REGIONAL CATASTROPHIC PREPAREDNESS- GRANT                                                                       8,045.24
MA   GRANTS SUBSIDIES AND CONTRIBUTIONS   SHSGP NONPROFIT SECURITY                                                                                       78,692.90
MA   GRANTS SUBSIDIES AND CONTRIBUTIONS   TARGETED VIOLENCE AND TERRORISM PREVENTION - FA                                                                 2,726.84
MA   Hazard Mitigation Grant              COVID-19                                                                                                      116,815.08
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MA   Hazard Mitigation Grant              R-1 MASSACHUSETTS 4/18/22 SEVERE WINTER STORM AND SNOWSTORM                             19,643.47
MA   Hazard Mitigation Grant              R-1 MASSACHUSETTS 6/25/18 SEVERE WINTER STORM AND FLOODING                             122,938.05
MA   Hazard Mitigation Grant              SEVERE WINTER STORM AND SNOWSTORM                                                      241,452.34
MA   Infrastructure Grant                 COVID-19                                                                             9,637,890.11
MA   Infrastructure Grant                 R-1 MASSACHUSETTS 4/19/13 SEVERE WINTER STORM AND SNOWSTORM                             36,180.14
MA   Infrastructure Grant                 R-1 MASSACHUSETTS 6/25/18 SEVERE WINTER STORM AND FLOODING                              56,044.17
MA   Infrastructure Grant                 R1 MASSACHUSETTS 9/15/23 HURRICANE LEE                                                   4,643.85
MA   Infrastructure Grant                 SEVERE WINTER STORM AND SNOWSTORM                                                       16,375.18
MA   Public Assistance Grant              COVID-19                                                                               100,599.04
MD   GRANTS SUBSIDIES AND CONTRIBUTIONS   BRIC GRANTS NOFO 2020                                                                   41,772.14
MD   GRANTS SUBSIDIES AND CONTRIBUTIONS   FMM (DISC) FLOOD MAPPING RISK MAP (FEE)PROGRAM IMPROVEMENT                              33,273.21
MD   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                   475,403.48
MD   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS PORT SECURITY GRANTS PORT SECURITY GRANTS                                        34,969.46
MD   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STAFFING FOR ADEQUATE FIRE & EMERGENCY RESPONSE (SAFER)                         308,250.43
MD   GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA - REGIONAL STORM ACT GRANTS - (REGIONAL)                                        6,576,542.00
MD   Hazard Mitigation Grant              COVID-19                                                                                93,108.08
MD   Hazard Mitigation Grant              R-3 MARYLAND 03/04/16 SEVERE WINTER STORM AND SNOWSTORMS                               100,725.74
MD   Infrastructure Grant                 COVID-19                                                                            68,033,655.62
MD   Infrastructure Grant                 R-3 MARYLAND 2/4/21 TROPICAL STORM ISAIAS                                                2,520.24
MD   Infrastructure Grant                 SEVERE STORM AND FLOODING                                                            1,216,643.18
MD   Public Assistance Grant              COVID-19                                                                                16,348.61
ME   GRANTS SUBSIDIES AND CONTRIBUTIONS   BRIC GRANTS NOFO 2020                                                                    2,250.00
ME   GRANTS SUBSIDIES AND CONTRIBUTIONS   BRIC GRANTS NOFO 2022                                                                        3.66
ME   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS EMERGENCY MANAGEMENT PERFORMANCE GRANTS                                         212,987.80
ME   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                 1,333,856.03
ME   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS PORT SECURITY GRANTS PORT SECURITY GRANTS                                       107,508.17
ME   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STAFFING FOR ADEQUATE FIRE & EMERGENCY RESPONSE (SAFER)                          99,584.77
ME   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STATE HOMELAND SECURITY GRANT PROGRAM                                           356,665.11
ME   GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA - SECTION 8A NDSP IIJA STATE GRANTS                                                   715.66
ME   GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA BRIC GRANTS NOFO 2022                                                              10,471.93
ME   GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA CYBERSECURITY - GPD                                                                31,549.24
ME   GRANTS SUBSIDIES AND CONTRIBUTIONS   MITIGATION DAM SAFETY PROGRAM GRANTS                                                     3,587.60
ME   GRANTS SUBSIDIES AND CONTRIBUTIONS   PRE-DISASTER MITIGATION COMMUNITY PROJECT GRANTS                                           107.09
ME   GRANTS SUBSIDIES AND CONTRIBUTIONS   SHSGP NONPROFIT SECURITY                                                               121,500.67
ME   Hazard Mitigation Grant              R-1 MAINE 5/30/18 SEVERE STORM AND FLOODING                                             47,037.80
ME   Infrastructure Grant                 COVID-19                                                                            79,724,190.60
ME   Infrastructure Grant                 R1 MAINE 1/9/24-1/13/24 SEVERE STORM AND FLOODING                                      173,842.23
ME   Infrastructure Grant                 R1 MAINE 12/17/2023-12-21/2023 SEVERE STORM AND FLOODING                               840,840.45
ME   Infrastructure Grant                 R1 MAINE 3/22/2023 SEVERE STORM AND FLOODING                                           226,448.12
ME   Infrastructure Grant                 R1 MAINE 4-3/2024-4/5/2024 SEVERE WINTER STORM                                         567,175.31
ME   Infrastructure Grant                 R1, MAINE, 7/6/23, SEVERE STORM AND FLOODING                                           704,093.19
ME   Public Assistance Grant              COVID-19                                                                               747,508.23
MI   Disaster Case Management             R5 MICHIGAN 8/24/2023-8/26/2023            SEVERE STORMS, TORNADOES, AND FLOODING        1,332.22
MI   GRANTS SUBSIDIES AND CONTRIBUTIONS   CAP-SSSE GRANTS                                                                         16,813.97
MI   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS EMERGENCY MANAGEMENT PERFORMANCE GRANTS                                       1,537,089.67
MI   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                 1,995,205.59
MI   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS PDM LEGACY                                                                          837.53
MI   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STAFFING FOR ADEQUATE FIRE & EMERGENCY RESPONSE (SAFER)                         250,417.67
MI   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STATE HOMELAND SECURITY GRANT PROGRAM                                           796,463.64
MI   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS URBAN AREA SECURITY INITIATIVE URBAN AREA SECURITY                               23,070.28
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MI   GRANTS SUBSIDIES AND CONTRIBUTIONS   SHSGP NONPROFIT SECURITY                                                                22,340.00
MI   GRANTS SUBSIDIES AND CONTRIBUTIONS   SHSGP OPERATION STONEGARDEN                                                            117,189.86
MI   GRANTS SUBSIDIES AND CONTRIBUTIONS   UASI NONPROFIT                                                                         214,693.58
MI   Hazard Mitigation Grant              COVID-19                                                                                15,874.07
MI   Hazard Mitigation Grant              R-5 MICHIGAN 07/15/21 SEVERE STORMS, TORNADOES FLOODING                                 12,661.06
MI   Hazard Mitigation Grant              R-5 MICHIGAN 8/2/18 SEVERE STORMS, FLOODING, LANDSLIDES, AND MUDSLIDES                   2,932.91
MI   Infrastructure Grant                 COVID-19                                                                            79,682,468.04
MI   Infrastructure Grant                 R-5 MICHIGAN 07/15/21 SEVERE STORMS, TORNADOES FLOODING                                 62,947.93
MI   Public Assistance Grant              COVID-19                                                                            14,126,208.73
MN   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS EMERGENCY MANAGEMENT PERFORMANCE GRANTS                                       1,118,462.63
MN   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                 1,243,362.85
MN   GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA BRIC GRANTS NOFO 2022                                                              75,682.40
MN   GRANTS SUBSIDIES AND CONTRIBUTIONS   SHSGP NONPROFIT SECURITY                                                                46,548.17
MN   GRANTS SUBSIDIES AND CONTRIBUTIONS   SHSGP TRIBAL                                                                           159,278.36
MN   GRANTS SUBSIDIES AND CONTRIBUTIONS   UASI NONPROFIT                                                                          43,323.55
MN   Infrastructure Grant                 R5 6/16/2024-CONTINUING MINNESOTA             SEVERE STORMS AND FLOODING                 4,145.28
NC   Agreements                           GRANTS EMERGENCY MANAGEMENT PERFORMANCE GRANTS                                       1,038,159.57
NC   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                   652,657.57
NC   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STAFFING FOR ADEQUATE FIRE & EMERGENCY RESPONSE (SAFER)                          67,903.00
NC   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STATE HOMELAND SECURITY GRANT PROGRAM                                           292,056.14
NC   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS URBAN AREA SECURITY INITIATIVE URBAN AREA SECURITY                               39,561.35
NC   GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA - SECTION 8A NDSP IIJA STATE GRANTS                                                51,611.34
NC   GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA CYBERSECURITY - GPD                                                                18,424.34
NC   GRANTS SUBSIDIES AND CONTRIBUTIONS   SHSGP NONPROFIT SECURITY                                                               423,451.98
NC   GRANTS SUBSIDIES AND CONTRIBUTIONS   USFA STATE FIRE TRAINING GRANT                                                           2,410.18
NC   Hazard Mitigation Grant              COVID-19                                                                               140,619.31
NC   Hazard Mitigation Grant              HURRICANE DORIAN                                                                       963,006.65
NC   Hazard Mitigation Grant              HURRICANE FLORENCE                                                                   3,035,873.79
NC   Hazard Mitigation Grant              R-4 NORTH CAROLINA 1/31/19 TROPICAL STORM MICHAEL                                      349,547.07
NC   Hazard Mitigation Grant              R-4 NORTH CAROLINA 10/10/16 HURRICANE MATTHEW                                           23,933.80
NC   Hazard Mitigation Grant              R-4 NORTH CAROLINA 11/11/16 PARTY ROCK FIRE                                            149,861.07
NC   Hazard Mitigation Grant              R4 NORTH CAROLINA 9/252024-CONTINUING            TROPICAL STORM HELENE                  19,986.87
NC   Hazard Mitigation Grant              R4 NORTH CAROLINIA HURRICANE ISAIAS 10/14/20                                            67,770.00
NC   Hazard Mitigation Grant              R-4 REMNANTS OF TROPICAL STORM FRED 9/8/21                                             219,156.99
NC   Hazard Mitigation Grant              SEVERE STROMS,TORNADOS AND FLOODING                                                     65,385.02
NC   Infrastructure Grant                 COVID-19                                                                            66,474,928.26
NC   Infrastructure Grant                 HURRICANE DORIAN                                                                        22,474.38
NC   Infrastructure Grant                 HURRICANE FLORENCE                                                                     454,692.60
NC   Infrastructure Grant                 R-4 NORTH CALOLINA 03/03/21 TROPICAL STORMS ETA                                          7,019.09
NC   Infrastructure Grant                 R-4 NORTH CAROLINA 10/10/16 HURRICANE MATTHEW                                          509,207.86
NC   Infrastructure Grant                 R4 NORTH CAROLINA 8/5/2024-CONTINUING           TROPICAL STROM DEBBY                   118,713.58
NC   Infrastructure Grant                 R4 NORTH CAROLINA 9/16/2024-9/20/2024          POTENTIAL TROPICAL CYCLONE EIGHT        161,691.16
NC   Infrastructure Grant                 R4 NORTH CAROLINA 9/252024-CONTINUING            TROPICAL STORM HELENE              90,500,543.98
NC   Infrastructure Grant                 R-4 NORTH CAROLINA, 10/1/22 HURRICANE IAN                                                4,590.47
NC   Infrastructure Grant                 R4 NORTH CAROLINIA HURRICANE ISAIAS 10/14/20                                            10,370.47
NC   Infrastructure Grant                 R-4 REMNANTS OF TROPICAL STORM FRED 9/8/21                                              77,242.67
NC   Infrastructure Grant                 SEVERE STROMS,TORNADOS AND FLOODING                                                     33,778.56
NJ   GRANTS SUBSIDIES AND CONTRIBUTIONS   FMA GRANTS                                                                             355,765.43
NJ   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FHMRA RISK MAP REGIONAL PROGRAM MANAGEMENT                                       10,293.91
NJ   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                 1,986,008.71
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NJ   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS PORT SECURITY GRANTS PORT SECURITY GRANTS                                                                          163,312.00
NJ   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS PUBLIC TRANSPORTATION SECURITY ASSISTANCE        RAILROAD SECURITY ASSISTANCE PUBLIC TRANSPORTATION SECURITY       502,129.79
NJ   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STAFFING FOR ADEQUATE FIRE & EMERGENCY RESPONSE (SAFER)                                                            154,951.61
NJ   Hazard Mitigation Grant              COVID-19                                                                                                                    3,458.75
NJ   Hazard Mitigation Grant              HURRICANE SANDY                                                                                                         1,105,891.00
NJ   Hazard Mitigation Grant              R-2 REMNANTS OF HURRICANE IDA 9/5/21                                                                                    2,651,292.00
NJ   Infrastructure Grant                 COVID-19                                                                                                               41,686,836.37
NJ   Infrastructure Grant                 HURRICANE SANDY                                                                                                        16,610,172.79
NJ   Infrastructure Grant                 R-2 NEW JERSEY 12/11/20 TROPICAL STORM ISAIAS                                                                               1,724.88
NJ   Infrastructure Grant                 R-2 REMNANTS OF HURRICANE IDA 9/5/21                                                                                    2,629,763.95
NJ   Infrastructure Grant                 SEVERE STORM AND FLOODING                                                                                                  67,570.47
NJ   Public Assistance Grant              COVID-19                                                                                                                1,086,434.89
NM   Disaster Case Management             R6 NEW NEXICO 6/17/2024-CONTINUING             SOUTH FORK FIRE AND SALT FIRE                                              515,611.76
NM   GRANTS SUBSIDIES AND CONTRIBUTIONS   ETE-NAT'L DOMESTIC PREPAREDNESS CONSORTIUM                                                                              2,467,065.67
NM   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FHMRA RISK MAP REGIONAL PROGRAM MANAGEMENT                                                                          58,290.43
NM   Hazard Mitigation Grant              COVID-19                                                                                                                   32,748.22
NM   Hazard Mitigation Grant              R-6 NEW MEXICO 06/15/17 EL CAJETE FIRE                                                                                    666,084.42
NM   Hazard Mitigation Grant              R6 NEW MEXICO 4/11/22 BIG HOLE FIRE                                                                                        14,560.85
NM   Hazard Mitigation Grant              R-6 NEW MEXICO, 5/4/22 WILDFIRES AND STRIGHT-LINE WINDS                                                                       670.40
NM   Infrastructure Grant                 COVID-19                                                                                                               59,932,719.79
NM   Infrastructure Grant                 R-6 NEW MEXICO, 5/4/22 WILDFIRES AND STRIGHT-LINE WINDS                                                                 8,093,809.36
NM   Public Assistance Grant              COVID-19                                                                                                                1,674,604.54
NV   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FHMRA RISK MAP REGIONAL PROGRAM MANAGEMENT                                                                          10,000.00
NV   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                                                        4,811.31
NV   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STAFFING FOR ADEQUATE FIRE & EMERGENCY RESPONSE (SAFER)                                                            180,186.42
NV   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS URBAN AREA SECURITY INITIATIVE URBAN AREA SECURITY                                                                 530,530.67
NV   Infrastructure Grant                 R-9 NEVADA, 4/27/23 SEVERE WINTER STORM, FLOODING, LANDSLIDEAND MUDSLIDES                                               1,445,794.69
NY   Agreements                           GRANTS EMERGENCY MANAGEMENT PERFORMANCE GRANTS                                                                          2,817,378.46
NY   GRANTS SUBSIDIES AND CONTRIBUTIONS   BRIC GRANTS NOFO 2020                                                                                                      44,746.55
NY   GRANTS SUBSIDIES AND CONTRIBUTIONS   EMERGENCY OPERATIONS CENTER COMMUNITY PROJECT GRANTS                                                                       20,226.78
NY   GRANTS SUBSIDIES AND CONTRIBUTIONS   ETE-CONTINUING TRAINING GRANTS - COMPETITIVE PORTION                                                                      124,252.51
NY   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                                                    1,903,847.14
NY   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS PORT SECURITY GRANTS PORT SECURITY GRANTS                                                                           11,160.00
NY   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS PUBLIC TRANSPORTATION SECURITY ASSISTANCE        RAILROAD SECURITY ASSISTANCE PUBLIC TRANSPORTATION SECURITY     9,372,648.18
NY   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STAFFING FOR ADEQUATE FIRE & EMERGENCY RESPONSE (SAFER)                                                            846,789.60
NY   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STATE HOMELAND SECURITY GRANT PROGRAM                                                                           14,321,863.61
NY   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS URBAN AREA SECURITY INITIATIVE URBAN AREA SECURITY                                                              21,421,458.45
NY   GRANTS SUBSIDIES AND CONTRIBUTIONS   REGIONAL CATASTROPHIC PREPAREDNESS- GRANT                                                                                 155,883.00
NY   GRANTS SUBSIDIES AND CONTRIBUTIONS   SHSGP NONPROFIT SECURITY                                                                                                1,633,286.03
NY   GRANTS SUBSIDIES AND CONTRIBUTIONS   TARGETED VIOLENCE AND TERRORISM PREVENTION - FA                                                                            76,333.08
NY   GRANTS SUBSIDIES AND CONTRIBUTIONS   UASI NONPROFIT                                                                                                          3,883,047.52
NY   Hazard Mitigation Grant              COVID-19                                                                                                                  109,601.53
NY   Hazard Mitigation Grant              FLOODING                                                                                                                   29,147.44
NY   Hazard Mitigation Grant              HURRICANE SANDY                                                                                                         1,645,966.66
NY   Hazard Mitigation Grant              R2 NEW YORK TROPICAL STORM ISAIAS 10/2/20                                                                                 255,050.46
NY   Hazard Mitigation Grant              REMNANTS OF TROPICAL STORM FRED                                                                                            44,836.00
NY   Hazard Mitigation Grant              SEVERE STORMS STRAIGHT-LINE WINDS AND FLOODING                                                                            283,087.66
NY   Infrastructure Grant                 COVID-19                                                                                                              439,313,447.42
NY   Infrastructure Grant                 FLOODING                                                                                                                  307,605.98
NY   Infrastructure Grant                 HURRICANE SANDY                                                                                                       108,129,355.86
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NY   Infrastructure Grant                 R2 NEW YORK 7/10-7/11                   SEVERE STORM, TORNADOES, AND FLOODING                         292,345.13
NY   Infrastructure Grant                 R2 NEW YORK 9/28/2023-9/30/2023 SEVERE STORM AND FLOODING                                           1,173,136.70
NY   Infrastructure Grant                 R2 NEW YORK JULY 9-10,2023 SEVERE STORMS AND FLOODING                                               1,305,421.41
NY   Infrastructure Grant                 R2 NEW YORK SAINT REGIS MOHAWK TRRIBE 8/8/2024-8/10/2024 SEVERE STORM AND FLOODING                     37,275.78
NY   Infrastructure Grant                 R2 NEW YORK TROPICAL STORM ISAIAS 10/2/20                                                             882,930.11
NY   Infrastructure Grant                 R-2 REMNANTS OF HURRICANE IDA 9/5/21                                                                1,293,027.11
NY   Infrastructure Grant                 REMNANTS OF TROPICAL STORM FRED                                                                     1,866,936.48
NY   Infrastructure Grant                 SEVERE STORMS STRAIGHT-LINE WINDS AND FLOODING                                                      1,209,224.41
NY   Infrastructure Grant                 SEVERE WINTER STORM AND SNOWSTORM                                                                     400,466.05
NY   Public Assistance Grant              COVID-19                                                                                           24,029,593.69
OR   Agreements                           GRANTS EMERGENCY MANAGEMENT PERFORMANCE GRANTS                                                        785,271.35
OR   GRANTS SUBSIDIES AND CONTRIBUTIONS   EMERGENCY OPERATIONS CENTER COMMUNITY PROJECT GRANTS                                                    3,022.30
OR   GRANTS SUBSIDIES AND CONTRIBUTIONS   FMA GRANTS                                                                                                265.54
OR   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FHMRA RISK MAP REGIONAL PROGRAM MANAGEMENT                                                      25,838.14
OR   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                                  957,323.78
OR   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS PRE-DISASTER MITIGATION                                                                          1,633.72
OR   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STAFFING FOR ADEQUATE FIRE & EMERGENCY RESPONSE (SAFER)                                        110,406.95
OR   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STATE HOMELAND SECURITY GRANT PROGRAM                                                           53,819.11
OR   GRANTS SUBSIDIES AND CONTRIBUTIONS   HIGH HAZARD POTENTIAL DAM REHABILITATION PROGRAM GRANTS                                                24,750.00
OR   GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA - SECTION 8A NDSP IIJA STATE GRANTS                                                               13,800.00
OR   GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA CYBERSECURITY - GPD                                                                              129,877.31
OR   Hazard Mitigation Grant              COVID-19                                                                                              244,096.98
OR   Hazard Mitigation Grant              R-10 OREGON 06/30/21 0419 FIRE                                                                          9,797.06
OR   Hazard Mitigation Grant              R-10 OREGON 05/04/21 SEVERE WINTER STORMS                                                             140,595.49
OR   Hazard Mitigation Grant              R-10 OREGON 08/04/17 PIPELINE FIRE                                                                     59,314.65
OR   Hazard Mitigation Grant              R-10 OREGON 8/3/22 MILLER ROAD FIRE                                                                     1,078.64
OR   Hazard Mitigation Grant              SEVERE STORMS, FLOODING, LAND/MUD SLIDES                                                               49,446.43
OR   Hazard Mitigation Grant              SEVERE STORMS, FLOODING, LANDSLIDES, AND MUDSLIDES                                                  1,053,322.52
OR   Hazard Mitigation Grant              SEVERE WINTER STORMS, FLOODING LAND/MUDSLIDES                                                           7,418.98
OR   Hazard Mitigation Grant              WILDFIRES AND STRAIGHT-LINE WINDS                                                                     771,798.62
OR   Infrastructure Grant                 COVID-19                                                                                          161,462,791.01
OR   Infrastructure Grant                 R-10 OREGON 05/04/21 SEVERE WINTER STORMS                                                             445,336.39
OR   Infrastructure Grant                 R-10 OREGON 2/17/16 SEVERE WINTER STORMS, STRAIGHT-LINE WINDS FLOODING LANDSLIDES AND MUDSLIDES     1,124,082.76
OR   Infrastructure Grant                 R-10 OREGON 4/13/24 SEVERE WINTER STORMS, STRAIGHT-LINE WINDLANDSLIDES AND MUDSLIDES                1,164,891.23
OR   Infrastructure Grant                 R10 OREGON 7/10/2024-8/23/2024 WILDFIRES                                                                4,411.87
OR   Infrastructure Grant                 R-10 OREGON 8/3/22 MILLER ROAD FIRE                                                                    39,525.47
OR   Infrastructure Grant                 SEVERE STORMS, FLOODING, LAND/MUD SLIDES                                                              150,215.96
OR   Infrastructure Grant                 SEVERE STORMS, FLOODING, LANDSLIDES, AND MUDSLIDES                                                      8,652.07
OR   Infrastructure Grant                 SEVERE WINTER STORM AND FLOODING                                                                      846,350.74
OR   Infrastructure Grant                 SEVERE WINTER STORMS, FLOODING LAND/MUDSLIDES                                                         104,734.21
OR   Infrastructure Grant                 WILDFIRES AND STRAIGHT-LINE WINDS                                                                     789,971.78
OR   Public Assistance Grant              COVID-19                                                                                              135,936.68
RI   GRANTS SUBSIDIES AND CONTRIBUTIONS   EMERGENCY OPERATIONS CENTER COMMUNITY PROJECT GRANTS                                                  216,233.42
RI   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS EMERGENCY MANAGEMENT PERFORMANCE GRANTS                                                        152,382.40
RI   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                                1,685,407.60
RI   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STAFFING FOR ADEQUATE FIRE & EMERGENCY RESPONSE (SAFER)                                        142,713.72
RI   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STATE HOMELAND SECURITY GRANT PROGRAM                                                           84,029.09
RI   GRANTS SUBSIDIES AND CONTRIBUTIONS   SHSGP NONPROFIT SECURITY                                                                              157,832.85
RI   Infrastructure Grant                 COVID-19                                                                                              368,369.70
RI   Infrastructure Grant                 R1 RHODE ISLAND 1/9/24-1/13/24 SEVERE STORMS AND FLOODING                                             584,404.21
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RI   Public Assistance Grant              COVID-19                                                                                                                  1,268.18
VT   GRANTS SUBSIDIES AND CONTRIBUTIONS   BRIC GRANTS NOFO 2020                                                                                                     2,012.37
VT   GRANTS SUBSIDIES AND CONTRIBUTIONS   BRIC GRANTS NOFO 2022                                                                                                     1,633.83
VT   GRANTS SUBSIDIES AND CONTRIBUTIONS   CAP-SSSE GRANTS                                                                                                          75,390.40
VT   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS BRIC NOFO 2021                                                                                                    11,514.80
VT   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS EMERGENCY MANAGEMENT PERFORMANCE GRANTS                                                                           59,184.11
VT   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                                                    401,997.43
VT   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS PDM LEGACY                                                                                                           200.71
VT   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STATE HOMELAND SECURITY GRANT PROGRAM                                                                            218,358.81
VT   GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA - SECTION 8A NDSP IIJA STATE GRANTS                                                                                 56,747.15
VT   GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA BRIC GRANTS NOFO 2022                                                                                                9,895.06
VT   GRANTS SUBSIDIES AND CONTRIBUTIONS   PRE-DISASTER MITIGATION COMMUNITY PROJECT GRANTS                                                                             94.24
VT   GRANTS SUBSIDIES AND CONTRIBUTIONS   SHSGP NONPROFIT SECURITY                                                                                                 23,428.39
VT   Hazard Mitigation Grant              COVID-19                                                                                                                294,275.88
VT   Hazard Mitigation Grant              GRANTS PRE-DISASTER MITIGATION                                                                                            8,297.16
VT   Hazard Mitigation Grant              R-1 VERMONT 09/01/11 HURRICANE IRENE                                                                                    186,195.51
VT   Hazard Mitigation Grant              R1 VERMONT 7/14/2023 FLOODING                                                                                           367,863.41
VT   Hazard Mitigation Grant              SEVERE STORM AND FLOODING                                                                                               256,830.59
VT   Hazard Mitigation Grant              SEVERE STORM AND FLOODING                                                                                               340,627.21
VT   Infrastructure Grant                 COVID-19                                                                                                                    683.35
VT   Infrastructure Grant                 R1 VERMONT 12/18/2023-12/19/2023 SEVERE STORM AND FLOODING                                                              103,446.28
VT   Infrastructure Grant                 R1 VERMONT 7/14/2023 FLOODING                                                                                        35,265,130.88
VT   Infrastructure Grant                 R1 VERMONT 7/29/2024-7/31/2024 SEVERE STORMS, FLOODING, LANDSLIDES, AND MUDSLIDES                                         1,807.85
VT   Infrastructure Grant                 R1 VERMONT 7/9/2024-7/11/2024            SEVERE STORM, FLOODING, LANDSLIDES, AND MUDSLIDES                            1,925,193.88
VT   Infrastructure Grant                 R1 VERMONT JAN 9-13-2020 SEVERE WINTER STORM                                                                                 90.56
VT   Infrastructure Grant                 R1 VERMONT, 3/20/2023 SEVERE STORM AND FLOODING                                                                             761.94
VT   Infrastructure Grant                 SEVERE STORM AND FLOODING                                                                                                   468.60
VT   Infrastructure Grant                 SEVERE STORM AND FLOODING                                                                                                   921.92
VT   Infrastructure Grant                 SEVERE STORMS AND FLOODING                                                                                                  804.18
WA   GRANTS SUBSIDIES AND CONTRIBUTIONS   BRIC GRANTS NOFO 2020                                                                                                    31,705.74
WA   GRANTS SUBSIDIES AND CONTRIBUTIONS   CAP-SSSE GRANTS                                                                                                          10,073.81
WA   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FHMRA RISK MAP REGIONAL PROGRAM MANAGEMENT                                                                         9,457.45
WA   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                                                  1,036,849.88
WA   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS PORT SECURITY GRANTS PORT SECURITY GRANTS                                                                        315,268.34
WA   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS PUBLIC TRANSPORTATION SECURITY ASSISTANCE       RAILROAD SECURITY ASSISTANCE PUBLIC TRANSPORTATION SECURITY      334,104.00
WA   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS STAFFING FOR ADEQUATE FIRE & EMERGENCY RESPONSE (SAFER)                                                        1,341,780.82
WA   GRANTS SUBSIDIES AND CONTRIBUTIONS   HIGH HAZARD POTENTIAL DAM REHABILITATION PROGRAM GRANTS                                                                 119,581.59
WA   GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA - SECTION 8A NDSP IIJA STATE GRANTS                                                                                  3,087.34
WA   Infrastructure Grant                 COVID-19                                                                                                             59,502,484.36
WA   Infrastructure Grant                 R-10 WASHINGTON 1/5/22 FLOODING AND MUDSLIDES                                                                         1,080,108.59
WA   Infrastructure Grant                 R-10 WASHINGTON 2/4/21 WILDFIRES AND STRAIGHT-LINE WINDS                                                              1,550,420.54
WA   Infrastructure Grant                 R-10 WASHINGTON 4/21/17 SEVERE WINTER STORMS FLOODING MUDSLIDES                                                         256,981.91
WA   Infrastructure Grant                 SEVERE STORMS, FLOODING, LANDSLIDES AND MUDSLIDES                                                                    11,042,828.78
WA   Infrastructure Grant                 SEVERE WINTER STORM FLOODING LAND AND MUD SLIDES                                                                          5,716.52
WA   Infrastructure Grant                 SEVERE WINTER STORM, STRAIGHT LINE WINDS, FLOODING, LANDSLIDES AND MUDSLIDES                                          1,135,640.85
WA   Public Assistance Grant              COVID-19                                                                                                             25,312,784.66
WI   GRANTS SUBSIDIES AND CONTRIBUTIONS   BRIC GRANTS NOFO 2020                                                                                                    30,775.47
WI   GRANTS SUBSIDIES AND CONTRIBUTIONS   FMA GRANTS                                                                                                                   54.38
WI   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS BRIC NOFO 2021                                                                                                   166,132.24
WI   GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS EMERGENCY MANAGEMENT PERFORMANCE GRANTS                                                                          212,738.07
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  WI          GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FHMRA RISK MAP REGIONAL PROGRAM MANAGEMENT                                        6,685.81
  WI          GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS FIREFIGHTER ASSISTANCE GRANTS                                                   758,034.14
  WI          GRANTS SUBSIDIES AND CONTRIBUTIONS   GRANTS PDM LEGACY                                                                        2,391.97
  WI          GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA BRIC GRANTS NOFO 2022                                                               1,500.00
  WI          GRANTS SUBSIDIES AND CONTRIBUTIONS   IIJA CYBERSECURITY - GPD                                                                16,306.70
  WI          Hazard Mitigation Grant              COVID-19                                                                               166,413.77
  WI          Hazard Mitigation Grant              SEVERE STORMS TORNADOES STRAIGHT LINE WINDS AND FLOODING                                 3,513.08
  WI          Hazard Mitigation Grant              SEVERE STORMS, STRAIGHT-LINE WINDS, AND FLOODING                                         1,656.07
  WI          Hazard Mitigation Grant              SEVERE STORMS, TORNADOES, STRAIGHT-LINE WINDS, FLOODING, ANDLANDSLIDES                   2,858.83
  WI          Hazard Mitigation Grant              SEVERE WINTER STORM AND FLOODING                                                         2,933.27
  WI          Infrastructure Grant                 COVID-19                                                                             5,627,593.97
  WI          Infrastructure Grant                 R5 - WISCONSIN - 10/7/2017                                                               1,008.83
  WI          Infrastructure Grant                 R-5 WISCONSIN 8/9/16 SEVERE STORMS AND FLOODING                                             93.35
  WI          Infrastructure Grant                 SEVERE STORMS TORNADOES STRAIGHT LINE WINDS AND FLOODING                                32,982.62
  WI          Infrastructure Grant                 SEVERE STORMS, STRAIGHT-LINE WINDS, AND FLOODING                                            93.35
  WI          Infrastructure Grant                 SEVERE STORMS, TORNADOES, STRAIGHT-LINE WINDS, FLOODING, ANDLANDSLIDES                   4,734.42
  WI          Infrastructure Grant                 SEVERE WINTER STORM AND FLOODING                                                       221,789.83
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Grand Total                                                                                                                          2,216,815,820.81
